Case 2:05-cv-02200-.]DB-dkv Document 16 Filed 08/02/05 Page 1 of 3 Page|D 21

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for the use of the
TENNESSEE VALLEY AUTHORITY
Plaintift`
v. Civil Action No. OS-ZZOO-B-P

EASEMENTS AND RlGHTS-OF-WAY
OVER A TOTAL OF 1136 ACRES OF

LAND, MORE OR LESS, IN FAYETTE
COUNTY, TENNESSEE

ERNEST B. WILLIAMS, III, ET AL.
Defendants

 

 

AGREED ORDER DROPPING LLOYD PAYNE
AS A DEFENDANT

 

Defendant Lloyd Payne, having Waived any interest in this action as
evidenced by his approval of this Order (since the Tennessee \/alley Authority
remains separately liable under the easement rights herein condemned for “direct
physical damage to the land, annual crops, fences, and roads resulting directly from

the operations of the construction and maintenance forces” in the exercise of the

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easement rights herein condemned) is hereby dropped as a Defendant in this

action.

We hereby approve and consent
to the entry of this document.

Edwin W. Small

Assistant General Counsel
Tennessee Valley Authority

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003739222

 

wited States District Jddge

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Defendant

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Attorney for Defendants Ernest B.
Williams, lll; Billie Anne Williams;

David G.

Williams, Jr.; Anne Williams Dunn; Second
Presbyterian Church of l\/lemphis,
Tennessee; l\/[etropolitan InterFaith
Association; and Chickasavv Council, Boy
Scouts of America

 

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number l6 in
case 2:05-CV-02200 vvas distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed

 

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Honorable J. Breen
US DISTRICT COURT

